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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

KATHERINE BLACK,

               Plaintiff,
       v.                                                      Case No.

CHERIE WRIGLEY,
MELISSA COHENSON,
BRIAN A. RAPHAN, P.C., and
PAMELA KERR,

               Defendants.


                                           COMPLAINT



       Katherine L. Black (“Plaintiff”), by and through her attorneys, Halling & Cayo, S.C.,

alleges the following against Cherie Wrigley, Melissa Cohenson, Brian A. Raphan, P.C., and

Pamela Kerr (“Defendants”).

                                   NATURE OF THE ACTION

       1.      This action for defamation, intentional infliction of emotional distress, false light,

publicity given to private facts, intrusion upon seclusion, interference with existing or prospective

contractual relations or economic advantage, stalking and cyber-stalking, assault, civil conspiracy,

and concert of action arises out of a series of acts that Defendants undertook against Plaintiff

between 2013 and 2016.

       2.      The extended family of Plaintiff’s husband has been engaged in a highly

acrimonious fight over inheritance. To date, this fight includes half a dozen lawsuits in three states,

involving multiple individuals.
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        3.      Plaintiff is not a party to any of these lawsuits and does not stand to personally

benefit from their resolution. However, Plaintiff agreed to testify against Defendants and their

agents, and provide evidence against them.

        4.      Plaintiff informed court-appointed personnel in two courts that she was willing to

provide evidence of criminal and civil misconduct by, among others, Defendant Wrigley and her

brother, Anthony Dain, and Wrigley’s agent, Esaun Pinto.

        5.      Defendants, acting in concert, in coordinated efforts spanning many months, sought

to coerce Plaintiff not to testify, not to report the crimes they and their agents committed against

Plaintiff and others, not to supply evidence to courts and court personnel, and not to participate in

litigation otherwise.

        6.      Defendants also sought to coerce Plaintiff into not opposing their efforts to seize

control of Plaintiff’s family assets, and used the threats of harm Plaintiff and her family to coerce

Plaintiff’s family members to transfer significant assets to Defendants.

        7.      Among other things, Defendants: (a) made threats of physical and sexual assault

against Plaintiff; (b) threatened to file a false police report against Plaintiff and initiate groundless

criminal proceedings against her; (c) threatened to cause Plaintiff’s small children to be removed

from their home and placed in foster care; (d) threatened to cause their agent, Esaun Pinto, to enter

Plaintiff’s home and remove assets from it without Plaintiff’s consent; (e) threatened to cause

Plaintiff to be fired from her job; (f) threatened to ruin Plaintiff’s professional reputation and

career; (g) threatened to ruin Plaintiff’s personal reputation and standing in the community; (h)

threatened to file false police reports and initiate groundless criminal proceedings against

Plaintiff’s immediate family member; (i) threatened to cause ruinous financial damage to

Plaintiff’s and Plaintiff’s immediate family members; (j) threatened careers and professional



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reputations of Plaintiffs’ immediate family members; (k) threatened personal reputations and

standing in the community of Plaintiff’s immediate family members.

        8.      Defendants went far beyond mere threats.

        9.      Defendants, acting in concert, waged a massive onslaught of criminal and tortious

actions against Plaintiff, including the following: (a) repeatedly contacted Plaintiff’s employer,

spreading false, malicious, and highly offensive information about Plaintiff; (b) submitted sealed

court documents to Plaintiff’s employer; (c) called Plaintiff’s colleagues and supervisors and

disclosed to them the contents of sealed legal proceedings; (d) falsely told Plaintiff’s colleagues

that Plaintiff was highly unethical and unfit to do her job; (e) falsely told or intimated to Plaintiff’s

employer that Plaintiff committed criminal actions; (f) submitted malicious and frivolous

complaint against Plaintiff to Plaintiff’s employer; (g) threatened Plaintiff’s employer with

frivolous litigation; (h) falsely intimated to Plaintiff’s employer that they were contacting the

employer on behalf of the court and with court authorization; (i) demanded that Plaintiff’s

employer submits formal letters to courts in sealed legal proceedings where neither Plaintiff nor

Plaintiff’s employer is a party; (j) demanded that Plaintiff’s employer starts disciplinary

proceedings against Plaintiff on the basis of Defendants’ false and malicious complaint; (k)

demanded that Plaintiff’s employer reports to Defendants on the status of its investigation of

Plaintiff and on its decision about the punishment of Plaintiff;           (l) submitted sealed court

documents to other third parties who have significant impact on Plaintiff’s life.

        10.     Defendants’ statements made to Plaintiff’s employer were not only false and

malicious, but defamatory per se. Defendants stated that Plaintiff was unfit for her job, and that

she committed criminal violations. Further, these statements prejudiced Plaintiff in her ability to




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continue to perform her many responsibilities with her employer, damaged her career, promotions,

reputation, and other employment opportunities.

        11.     Defendants’ statements to Plaintiff’s employer were made with actual malice, to

coerce Plaintiff not to testify against Defendants.

        12.     In January 2016, following the onslaught of Defendants’ witness-tampering

actions, Plaintiff obtained a Temporary Restraining Order against all Defendants and several of

their associates.

        13.     Justice Aliotta of the New York Supreme Court enjoined all Defendants from

having any further contact with Plaintiff’s family, their employers and schools, and from

interfering with Plaintiff’s family in any way.

        14.     In March 2016, the New York Supreme Court held a hearing on Plaintiff’s TRO

and other related matters.

        15.     The judge found that “certainly I see [Defendants’ proffered reasons for contacting

Plaintiff’s employer] being used as an excuse on the part of Miss Wrigley, to attack [Plaintiff and

her husband] at his place of employment.”

        16.     The judge later stated that “I understand why [Plaintiff] would feel violated.”

        17.     Because of Defendants’ witness-tampering actions, the judge reversed his own

prior ruling on a related matter in front of him, and ruled against Wrigley. The judge explicitly

stated that he was reversing his own prior ruling on a related matter because of Defendants’ actions

with respect to Plaintiff’s employer.

        18.     Defendants acted in concert for the purpose of accomplishing an illegal goal: to

threaten Plaintiff and prevent her from testifying in court and from supplying evidence against

them to court personnel.



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       19.     Defendants also acted in concert to accomplish their goals through illegal means:

by threatening Plaintiff with assault, with filing of a false police report, and with removal of small

children from their family. These actions are criminal as they constitute witness tampering,

intimidation, and cyber-stalking.

       20.     Defendants coordinated and timed their attacks on Plaintiff. They built their

numerous communications with Plaintiff’s employer on prior communications conducted by their

co-Defendants. They exchanged their defamatory materials before submitting them. Wrigley

submitted Kerr’s defamatory letter to Plaintiff’s employer. Cohenson obtained information from

Plaintiff’s employer and provided it to Wrigley and Kerr for follow-up defamatory actions.

       21.     Defendants obtained substantial assistance, guidance, and encouragement from

their associates, Anthony Dain and Ira Salzman. Dain and Salzman, both experienced litigators,

supported and defended Defendants’ witness-tampering conduct during the hearing on the TRO

that Plaintiff obtained. Dain and Salzman provided de facto legal representation to all Defendants,

even though none of the Defendants were their clients. Dain and Salzman used the TRO

proceedings to continue to threaten Plaintiff.

       22.     Plaintiff’s sister-in-law, Joanne Black, provided assistance and encouragement to

Defendants’ scheme to intimidate and harass Plaintiff, and to coerce Plaintiff not to testify.

       23.     Years of persistent threats of physical and sexual assault, filing of false police

reports, removal of small kids from family, and active efforts to cause Plaintiff lose her job, harm

her career, and harm her reputation caused significant damage to Plaintiff. Plaintiff suffered

significant physical and psychological harm, harm to her ability to successfully do her job, harm

to her career, and harm to her quality of life. Plaintiff also suffered significant financial losses




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associated with her effort to protect herself and her family from the harm that Defendants

threatened, and her inability to concentrate her energies on her work.

        24.     Plaintiff is informed and believes that Defendants’ conduct constitutes numerous

criminal violations of Illinois and federal statutes, including: (a) several Illinois statutes on witness

tampering (720 ILCS 5/32-4; 720 ILCS 5/32-4a); (b) intimidation (720 ILCS 5/12-6); (c) assault

(720 ILCS 5/12-1); (d) stalking (720 ILCS 5/12-7.3); (e) cyberstalking (720 ILCS 5/12-7.5); (f)

compounding a crime (720 ILCS 5/32-1); and (g) simulating legal process (720 ILCS 5/32-7).

                           PARTIES, JURISDICTION, AND VENUE

                                                Plaintiff

        25.     Plaintiff Katherine Black resides and works in Illinois.

        26.     Plaintiff is a private figure for the purpose of establishing defamation liability.

                                      Defendant Cherie Wrigley

        27.     Defendant Cherie Wrigley resides in California. She is a cousin of Plaintiff’s

husband.

        28.     Wrigley committed numerous torts within Illinois.

        29.     Wrigley placed numerous defamatory phone calls to Plaintiff’s employer, located

in Illinois.

        30.     Wrigley spoke with, and left voicemails for, several Illinois-based employees of

Plaintiff’s Illinois employer, demanding actions on their part, to be originated and substantially

performed in Illinois.

        31.     Wrigley submitted a defamatory, malicious, and frivolous complaint against

Plaintiff to Plaintiff’s Illinois employer.

        32.     Wrigley submitted sealed court documents to Plaintiff’s Illinois employer, seeking

to subject Plaintiff to the hate and ridicule of her colleagues and superiors.

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        33.     Wrigley submitted to Plaintiff’s Illinois employer a defamatory and malicious letter

written and signed by her accomplice Kerr, at Wrigley’s request.

        34.     By doing so, Wrigley intentionally triggered a long chain of events in Illinois: she

caused numerous Illinois-based employees of a large Illinois employer to read and discuss the

documents she submitted, start a formal response process, consider the letter’s demand to contact

the two courts, draft a letter to the two courts, and send that letter.

        35.     Wrigley repeatedly contacted Plaintiff’s Illinois employer in prior years, filing false

and malicious complaints against Plaintiff’s immediate family member, who also works for

Plaintiff’s Illinois employer.

        36.     Wrigley threatened Plaintiff with physical and sexual assault, to be performed at

Wrigley’s directions in Illinois.

        37.     Wrigley threatened to submit a false police report against Plaintiff in Illinois.

        38.     Wrigley threatened to contact an Illinois agency responsible with child welfare,

submit a false report to them, and cause them removal of Plaintiff’s small children from their home

in Illinois.

        39.     Wrigley reiterated these threats through a phone call and a text message that were

intended to be delivered to Illinois, and were delivered there.

        40.     Wrigley threatened to bring her associate, Esaun Pinto, to Plaintiff’s Illinois home,

and to forcibly remove assets from Plaintiff’s home, without Plaintiff’s consent.

        41.     Between 2012 and 2016, Wrigley placed numerous other phone calls to Plaintiff

and her immediate family in Illinois. In those phone calls, Wrigley repeatedly threatened Plaintiff

and her husband. Wrigley knew that her phone calls were made to Illinois, intended to reach Illinois

residents, and intended to trigger the response in Illinois.



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        42.     Wrigley has made or performed contracts and promises substantially connected

with Illinois. Wrigley has been performing numerous services for an Illinois trust, The

Supplemental Needs Trust for the Benefit of Joanne Black (the “SNT”). The trust is administered

in Illinois and has its assets in Illinois.

        43.     Wrigley acquired ownership, possession or control of assets present within Illinois

when that ownership, possession or control was acquired. For her services to a beneficiary of the

Illinois trust, Wrigley received tens of thousands of dollars, paid directly from the Illinois trust’s

bank accounts, through checks written from an Illinois branch of the Illinois trust’s bank.

        44.     As such, Wrigley obtained tens of thousands of dollars of assets that were located

in Illinois immediately before being transferred to Wrigley.

                                         Defendant Pamela Kerr

        45.     Defendant Pamela Kerr resides in Colorado. She is currently an accountant working

for one of the parties in litigation involving Plaintiff’s extended family.

        46.     Kerr committed numerous torts within Illinois.

        47.     Kerr initiated a series of phone calls to Plaintiff’s employer, located in Illinois.

During those calls, Kerr made defamatory statements about Plaintiff, released the contents of

sealed legal proceedings to Plaintiff’s employer, threatened Plaintiff’s employer with litigation,

and offered to release more sealed court documents to Plaintiff’s employer.

        48.     In addition, Kerr wrote a defamatory formal letter against Plaintiff, addressing her

letter to Plaintiff’s employer in Illinois. Kerr wrote Plaintiff’s employer’s Illinois address on the

heading of her letter.




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       49.     In her letter, and during her phone call, Kerr demanded that Plaintiff’s Illinois

employer formally contact at least two courts, explaining the employer’s position in an

acrimonious inheritance litigation.

       50.     Also in her letter, and during her phone call, Kerr demanded that Plaintiff’s Illinois

employer send a formal request to Kerr to transfer numerous sealed court documents to Plaintiff’s

Illinois employer, and promised that she would transfer such documents to Illinois upon such

request. Kerr’s “offer” was illegal. Kerr never sought, nor was she granted, the legal power to

contact Plaintiff’s employer in Illinois or transfer any sealed court documents to anyone.

       51.     As such, Kerr intentionally triggered a long chain of events in Illinois: she caused

numerous Illinois-based employees of a large Illinois employer to read and discuss her letter,

consider her demand to contact the courts, draft a letter to the courts, and send that letter.

       52.     Responding to Kerr’s false representation that she was acting in her official court

capacity, Plaintiff’s Illinois employer wrote formal letters to two courts.

       53.     Kerr has made or performed contracts and promises substantially connected with

Illinois. Kerr’s contacts with Plaintiff’s Illinois employer were done in the course of Kerr’s

employment, ostensibly for the benefit of Kerr’s client, who is a beneficiary of the Illinois trust,

the SNT.

       54.     For her various services, Kerr has been paid tens of thousands of dollars from the

assets of the Illinois trust, SNT, written from the trust’s Illinois bank account. As such, Kerr

acquired ownership, possession or control of assets present within Illinois when ownership,

possession or control was acquired.




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                                   Defendant Melissa Cohenson

        55.     On information and belief, Defendant Melissa Cohenson resides in New York. She

was formerly an attorney for Wrigley and an active participant in Wrigley’s witness tampering

scheme.

        56.     Cohenson committed torts within Illinois. Cohenson initiated a series of phone calls

to Plaintiff’s employer, located in Illinois. During those calls, Cohenson made false and

defamatory statements about Plaintiff.

        57.     Cohenson released the contents of sealed legal proceedings to Plaintiff’s Illinois

employer.

        58.     Cohenson’s communications with Plaintiff’s Illinois employer were made in the

normal course of Cohenson’s business. Cohenson was paid for these “services” to her client,

Wrigley.

        59.     Cohenson was paid in part with assets that Wrigley withdrew from an Illinois

account of an Illinois trust.

        60.     As such, Cohenson has made or performed contracts and promises substantially

connected with Illinois.

        61.     Cohenson acquired ownership, possession or control of assets present within

Illinois when ownership, possession or control was acquired.

                                    Defendant Brian A. Raphan

        62.     Brian Raphan is a former employer of Defendant Melissa Cohenson. Raphan

operates his law firm in New York.

        63.     Raphan’s employee, Cohenson, engaged in her tortious conduct in Illinois while

employed as an associate by Raphan and while working under Raphan’s supervision and control,



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on his premises, using his equipment and materials, representing the client whom Raphan engaged

(Wrigley). As a respondeat superior, Raphan is responsible for the torts committed by Cohenson

within the scope of her employment

        64.    Both Cohenson and Raphan received significant compensation for the tortious acts

that Cohenson committed in Illinois.

        65.    Raphan and Cohenson acquired ownership, possession or control of assets present

within Illinois when ownership, possession or control was acquired. Wrigley paid Raphan and

Cohenson with the assets removed from the Illinois bank account of an Illinois trust (the SNT).

        66.    Raphan has conducted business in Illinois.

        67.    Raphan has made or performed contracts and promises substantially connected with

Illinois.

        68.    Raphan’s law firm is located in New York, but has clients in multiple states. For

example, Wrigley is a resident of California; Raphan’s website also lists clients from Virginia and

New Jersey. On information and belief, Raphan has represented residents and citizens of Illinois

in the past.

                                        Personal Jurisdiction

        69.    This Court has specific personal jurisdiction over all Defendants under Illinois

long-arm statute, 735 ILCS 5/2-209.

        70.    The causes of action asserted in this Complaint arise from the fact that Defendants

deliberately reached out to Illinois and caused tortious injuries in Illinois.

        71.    Each defendant intended to harm an Illinois resident, cause her severe emotional

distress, cause her to lose her job in Illinois, and cause her to lose her standing in the community

in Illinois.



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       72.     All Defendants committed tortious acts in Illinois and intended for their tortious

actions to have consequences in Illinois.

       73.     All Defendants were compensated for their tortious actions in Illinois by receiving

assets from an Illinois bank account of an Illinois trust.

       74.     All Defendants have made or performed contracts and promises substantially

connected with Illinois.

       75.     All Defendants acquired ownership, possession or control of assets present within

Illinois when ownership, possession or control was acquired.

       76.     Defendants knew that Plaintiff was a resident of Illinois and that Plaintiff’s

employer was an Illinois institution. As such, Defendants’ numerous acts of making defamatory

statements manifest their intent to aim their defamatory statements into Illinois and Illinois

audience.

       77.     Defendants knew that Plaintiff was a resident of Illinois and that her small children

resided in Illinois. Thus, Defendants numerous threats of assault, filing false police reports, and

removing small children from home manifest their intent to aim their tortious acts into Illinois,

including Illinois state actors, such as the police, child protective services, and the courts.

       78.     The contacts between Defendants and Illinois have been purposeful. Defendants

purposefully contacted numerous parties in Illinois (such as Plaintiff herself and Plaintiff’s

employer) to conduct their tortious activities.

       79.     Defendants’ contacts with Illinois are systematic and continuous. All Defendants

have been receiving assets from an Illinois bank account of an Illinois trust for many months.




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        80.     Defendants’ contacts with Illinois and the underlying cause of action are closely

related. They are all a part of Defendants’ scheme to transfer millions of dollars from the Illinois

trusts owned by Plaintiff’s family to themselves.

        81.     Witnesses and evidence of Defendants’ tortious actions are easily and conveniently

available in Illinois.

                                 Subject Matter Jurisdiction and Venue

        82.     The Court has jurisdiction over Plaintiffs’ state law claims pursuant to 28 U.S.C. §

1332(a)(1), as this dispute is between “citizens of different States.”

        83.     Jurisdiction is based on diversity. Plaintiff is a resident and citizen of the state of

Illinois.

        84.     Defendant Cherie Wrigley is a resident and citizen of the state of California.

        85.     Defendants Melissa I. Cohenson and Brian A. Raphan are residents and citizens of

the state of New York.

        86.     Defendant Pamela Kerr is a resident and citizen of the state of Colorado.

        87.     The amount in controversy, without interest and costs, exceeds $150,000.

        88.     Venue is proper in the [Northern] District of Illinois pursuant to 28 U.S.C. §

1391(b)(2) because a substantial part of the events or omissions giving rise to Plaintiffs’ claims

occurred within this District.

        89.     This complaint seeks both equitable relief and damages. A jury trial is demanded

for the damages claims.




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                                  FACTUAL BACKGROUND

  Wrigley Makes Numerous Threats against Plaintiff and Plaintiff’s Immediate Family to
     Coerce them into Transferring Millions of Dollars to Wrigley’s Control and Use

        90.    In 2012, Plaintiff’s mother-in-law died, leaving a sizable inheritance.

        91.    Wrigley was not named an heir and has no legitimate claim on the estate assets.

        92.    Soon thereafter, Wrigley, together with her brother, Anthony Dain, hatched a

scheme to transfer most of the inheritance to their own control and use.

        93.    Plaintiff’s sister-in-law, Joanne Black, actively assisted Wrigley and Dain in this

plan.

        94.    Dain and Wrigley, directly and through proxies, hired numerous individuals to

instigate multi-state litigation and advance their scheme.

        95.    The fight, instigated by Dain and Wrigley, is currently pursued by a dozen

individuals, in three states (Colorado, Illinois, and New York), in several courts, and involves

millions of dollars in claims.

        96.    Plaintiff is not an heir to the estate and does not stand to personally benefit from

the inheritance fight.

        97.    Both Wrigley and Dain threatened Plaintiff, Plaintiff’s husband, and the adult

children of Plaintiff’s husband with devastating personal consequences to coerce them to transfer

millions of assets to Dain’s and Wrigley’s control and use.

        98.    Over the span of many months, Wrigley threatened (a) to organize a physical

assault against Plaintiff and her immediate family members; (b) to hire a someone to burglarize

Plaintiff’s home; and (c) to steal a car parked on Plaintiff’s driveway.


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        99.     In August-September of 2014, Plaintiff’s family refused Dain’s and Wrigley’s

demands to transfer significant assets to them and informed them that they would participate in

litigation against them.

        100.    Plaintiff’s family notified Wrigley that they would be presenting evidence of

Wrigley’s severe misconduct to the court.

  Plaintiff Contacts Two Court-Appointed Personnel in Colorado and Offers to Provide
  Evidence against Wrigley; Wrigley Responds by Threatening Plaintiff with Sexual and
     Physical Assault, and by Threatening Plaintiff’s Husband with Physical Assault

        101.    In March 2015, Plaintiff sought a meeting with two court-appointed personnel,

Gayle Young and Lisa DiPonio, to supply them evidence of illegal conduct by Wrigley and her

accomplices.

        102.    Gayle Young was a guardian ad litem, the position often described as the eyes and

the ears of the court. Plaintiff believed that by communicating with Young, she was

communicating with the court.

        103.    Lisa DiPonio is a court-appointed counsel for a member of Plaintiff’s family, who

is not a party to this litigation.

        104.    The meeting was arranged by the attorney for Plaintiff’s husband, Carl Glatstein,

and was to be held in his office.

        105.    Plaintiff was told that this meeting was confidential, and its contents were

confidential. The only two parties invited to the meeting were two court-appointed personnel, plus

Plaintiff’s husband and his attorney.

        106.    None of the parties to the meeting represented Wrigley or any of the other

Defendants in this action.

        107.    Plaintiff brought to the meeting several binders full of documents.



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         108.   Plaintiff’s documents demonstrated that Wrigley and Pinto repeatedly lied to the

court and to court personnel with whom Plaintiff was meeting.

         109.   Plaintiff’s documents showed that Wrigley and Pinto engaged in other illegal

conduct, including fraud and extortion, and victimized several members of Plaintiff’s family.

         110.   During the meeting, Young and DiPonio received Plaintiff’s folders and looked

through them. Each of them received their own folder with documents.

         111.   Young requested that Plaintiff puts all documents into a PDF file and email them

to Young. Young told Plaintiff that she would work through the documents and get back to Plaintiff

shortly for further discussions.

         112.   Plaintiff promised that she would email electronic versions of all documents to

Young.

         113.   Unbeknownst to Plaintiff, Young had maintained months-long ex parte

communications with Wrigley. Young notified Wrigley and Dain about her meeting with Plaintiff

in advance.

         114.   After the meeting, Young notified Wrigley about the contents of the meeting.

         115.   A day later, after a short court hearing, Wrigley approached Plaintiff and Plaintiff’s

husband.

         116.   Wrigley told Plaintiff that she learned that Plaintiff supplied evidence of Wrigley’s

illegal actions to Young. Wrigley told Plaintiff that Plaintiff must cease any contacts with court

personnel, must not provide any evidence to court, and must not testify against Wrigley or her

accomplices.

         117.   Wrigley told Plaintiff that if Plaintiff continued to provide evidence or testify,

Wrigley would arrange for Plaintiff to be sexually and physically assaulted.



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        118.    After threatening Plaintiff, Wrigley turned to Plaintiff’s husband and threatened

him with physical assault as well.

        119.    Pinto styles himself as a “private investigator.” Plaintiff knew that, on Wrigley’s

instructions, Pinto traveled broadly around the country, following a member of Plaintiff’s family

without that person’s knowledge or permission.

        120.    Pinto admitted, in his sworn court testimony, that he had also stalked a member of

Plaintiff’s family in the past. By Pinto’s own admission, his stalking activities against members of

the Plaintiff’s family spanned many years.

        121.    Plaintiff knew that Wrigley paid hundreds of thousands of dollars to Pinto and his

associates to perform various “jobs” for her.

        122.    Plaintiff knew that Wrigley and Pinto have been demanding hundreds of thousands

of dollars from Plaintiff’s family.

        123.    In the past, Wrigley threatened Plaintiff with hiring Pinto to enter Plaintiff’s home

and remove assets from it.

        124.    When Plaintiff heard Wrigley’s threats of physical and sexual assault, Plaintiff

knew that Wrigley had means and opportunity to implement them.

        125.    Wrigley’s threats were intended to cause significant emotional distress in Plaintiff,

and they did. Plaintiff was terrified.

        126.    Plaintiff knew that her presence at the courthouse was known to Wrigley in

advance, and therefore known to Pinto and his accomplices.

        127.    Plaintiff believed that either Pinto or his accomplices were present nearby and

would assault Plaintiff promptly if she did not promise to Wrigley that she would not provide

evidence to court personnel.



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  Wrigley Threatens to File False Police Report Against Plaintiff and Threatens to Cause
              Plaintiff’s Small Children to be Removed from Their Home
       128.    Several hours later, Plaintiff ran into Wrigley in the Admirals Club of the Denver

International Airport.

       129.    Wrigley approached Plaintiff and repeated her threat. Wrigley told Plaintiff that if

Plaintiff agrees to testify or provide evidence, Wrigley would file a false police report, claiming

that Plaintiff was abusing her small children. There has never been any basis for such report, and

Wrigley knew it.

       130.    Wrigley told Plaintiff that Wrigley had spent years as a court-appointed special

advocate for abused children in California courts, and that Wrigley knew how to write a police

report that Plaintiff would not be able to easily rebut.

       131.    Wrigley said that she was trained to manipulate this system. Wrigley said, “If I get

to it, you will not get your kids back for a year.”

       132.    Plaintiff knew these were not idle threats. Plaintiff knew that in the past, Wrigley

successfully manipulated mental-health and related systems to her advantage.

       133.    Plaintiff also knew that Wrigley had years of experience in child-protection fields,

and bragged about having friends within the system in many states.

       134.    Plaintiff was shocked and terrified when she heard these threats.

       135.    Plaintiff responded only by saying that, “I will pretend I did not hear this.”

       136.    Wrigley replied that she had a way of making sure that Plaintiff hears her clearly.

       137.    Shortly after that conversation, Wrigley called Plaintiff’s husband and left a

voicemail.

       138.    In her voicemail, Wrigley stated that she was sitting in the airport lounge with her

brother, Dain, referred to her recent conversation with Plaintiff (during which she threatened


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Plaintiff’s children), and said that Plaintiff needed a hearing aid. Her language repeated very

closely the threat she just made to Plaintiff in person.

        139.   At roughly the same time, Wrigley also sent a text message to Plaintiff’s husband.

The message said: “Tell your wife to get a hearing aid.”

        140.   Wrigley had no reasons to communicate with Plaintiff’s husband and discuss

Plaintiff with him. Wrigley had no reasons to mention a hearing aid except to reiterate the threat

she made to Plaintiff shortly before sending these communications.

        141.   Plaintiff interpreted these communications as reiterations of the threats that Wrigley

made at the Denver airport and at the courthouse.

        142.   Wrigley’s inclusion of Dain in her voicemail to Plaintiff’s husband led Plaintiff to

believe that Dain participated in Wrigley’s threats or at least was aware of them.

        143.   Wrigley’s threats, in person, via phone, and via text, were intended to terrorize

Plaintiff, to cause severe emotional distress, and to prevent Plaintiff from testifying in court.

        144.   Wrigley’s threats succeeded, as they were intended. Plaintiff was shocked and

terrified.

   Responding to Wrigley’s Threats, Plaintiff Refuses to Testify and Provide Evidence to
                                          Court
        145.   Shortly after the conversations with Wrigley in Denver, Plaintiff felt violently ill,

shaking, and throwing up.

        146.   The threat to the safety of Plaintiff’s small children, and to Plaintiff’s own physical

safety, caused Plaintiff to suffer significant physical, emotional, and psychological trauma.

        147.   After Plaintiff learned that Wrigley reiterated her threats through voicemail and text

message, Plaintiff decided not to supply any evidence and refused to testify in court, despite her

earlier promises to Gayle Young.


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       148.     As a result of Wrigley’s treats, Plaintiff refused to attend the next court hearing, in

June 2015.

      Wrigley and Her Accomplices Threaten Plaintiff Against Participating in Court
                              Proceedings in New York
       149.     Eventually, Plaintiff decided that she would not allow Wrigley and her accomplices

terrorize her, and agreed to renew her participation in the legal proceedings as a witness.

       150.     In September 2015, Plaintiff and her family informed the New York Supreme Court

that they were prepared to testify against Wrigley and Dain.

       151.     Neither Plaintiff nor any member of Plaintiff’s immediate family were a party to

that litigation. Their participation was solely as witnesses.

       152.     When Wrigley learned about Plaintiff’s renewed offer to testify, she and her brother

Dain renewed their threats against Plaintiff’s family.

       153.     Because of the threats from Wrigley, Dain, and their associates, Plaintiff again

refused to participate in the court proceedings and refused to continue communications with court

personnel.

             Wrigley Continues to Defraud and Threaten Plaintiff and Her Family

       154.     Because of the threats from Dain and Wrigley, none of the members of Plaintiff’s

family was willing to attend the court hearing in September 2015.

       155.     In the absence of any representation by Plaintiff and her family, the court issued a

limited ruling in favor of Wrigley.

       156.     Wrigley immediately contacted Plaintiff’s family and falsely told them that she

obtained the court’s permission to transfer tens of thousands of dollars of assets to herself. Wrigley

knew that this was not true.




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        157.    Wrigley threatened that if Plaintiff and her family did not immediately transfer the

assets to Wrigley, she would send her accomplice, Esaun Pinto, to Plaintiff’s home and remove

those assets against their will.

        158.    For the next several months, Wrigley, her brother Dain, Cohenson, and their agents

repeatedly threatened Plaintiff and her family, lied, illegally refused to release legal documents,

and illegally doctored documents that they did release to them.

        159.    Throughout that period, Wrigley and her associates continued to threaten Plaintiff

and her family, demanding that they acquiesce to Wrigley’s demand to transfer millions of dollars

to Wrigley and Dain.

Plaintiff Contacts the Court and Reports Dain’s, Wrigley’s, and Pinto’s Illegal Actions, as
                    Well as Misconduct by Their Agents and Associates
        160.    In late December of 2015, the attorney for Plaintiff’s husband formally requested a

new court hearing, citing numerous illegal actions by Wrigley and her associates, including witness

intimidation and tampering.

        161.    On January 7, 2016, Plaintiff wrote a letter to J. Aliotta, requesting a new hearing,

and informing the court that she was willing to testify against Wrigley and Dain.

        162.    In her letter, Plaintiff meticulously documented numerous illegal conduct by

Wrigley, Dain, and Pinto.

        163.    Plaintiff’s letter contained a section extensively documenting Wrigley’s perjury in

prior proceedings.

        164.    Plaintiff requested an opportunity to testify about this misconduct in court.

 Wrigley, Kerr, and Cohenson Contact Plaintiff’s Employer, Make Numerous Defamatory
    Statements, Seeking to Get Plaintiff Fired and Harm Her Career and Reputation
        165.    Plaintiff sent her letter to the court and, pursuant to court rules, forwarded a copy

to Wrigley, Dain, Cohenson, and Salzman.

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       166.    On the same day, January 7, Cohenson called Plaintiff’s employer and requested to

speak with someone in the position of power.

       167.    Cohenson eventually spoke with a senior administrator at Plaintiff’s employer, Ms.

Schulte.

       168.    Cohenson informed Plaintiff’s employer that Plaintiff wrote a letter to J. Aliotta.

Cohenson had no right to do so. Legal proceedings for which Plaintiff’s letter was written were

sealed, which Cohenson, as an attorney to a party in those proceedings, knew.

       169.    Cohenson went on to provide detailed personal information about Plaintiff to

Plaintiff’s employer.

       170.    Cohenson falsely told Plaintiff’s employer that, in her letter, Plaintiff represented

to the court that Plaintiff was writing with the support of her employer.

       171.    Plaintiff’s letter to the court started with clearly identifying Plaintiff as a member

of the family engaged in an inheritance fight. Plaintiff never said or hinted that her employer had

any interest in the family litigation, in which Plaintiff herself was not even a party. There is no

plausible claim that Plaintiff’s employer could possibly have in the family fight over inheritance,

where Plaintiff is not even a party.

       172.    The goal of Cohenson’s phone call was to release sealed court information to

Plaintiff’s employer and to engage in witness tampering.

       173.    Cohenson falsely told Plaintiff’s employer that Plaintiff used an official employer’s

letterhead in her communications with the court.

       174.    Plaintiff did not use the official employer’s letterhead. Plaintiff used her own self-

designed letterhead, which was very different, and did not even use the correct name of her




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employer. The two letterheads are nothing alike; Defendants knew it or at least were grossly

negligent in not knowing.

        175.   Plaintiff’s personal letterhead uses a different color than the official employer’s

letterhead does (blue, rather than purple); different font; different logo; and different albeit

recognizable name of the employer.

        176.   At all times, Cohenson concealed from Plaintiff’s employer that the

communications which she was disclosing were sealed, and that Cohenson had no right to disclose

them.

        177.   The next day, January 8, 2016, Wrigley submitted a complaint against Plaintiff to

Plaintiff’s employer. The basis of Wrigley’s written complaint was identical to Cohenson’s oral

complaint: the false claim that Plaintiff improperly used her employer’s letterhead.

        178.   Wrigley had no right to disclose any information about Plaintiff’s letter to the court

because the letter was submitted in sealed legal proceedings, which Wrigley knew.

        179.   Wrigley’s complaint falsely stated that Plaintiff represented to the court that she

was acting with her employer’s imprimatur and that Plaintiff used the employer’s official

letterhead in her communication with the court.

        180.   Wrigley knew this was false.

        181.   Justice Aliotta, who later reviewed Wrigley’s claim that she thought Plaintiff’s

employer was somehow involved because of the letterhead, found it to be not credible.

        182.   On the following working day, January 11, or around that time, Wrigley called

Plaintiff’s colleague, Mr. Dana, at his work. On information and belief, Wrigley believed that Dana

was Plaintiff’s supervisor.

        183.   Wrigley left a malicious and defamatory voicemail on Dana’s work phone.



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       184.    In her voicemail, Wrigley said that she knew that Plaintiff was a highly regarded

employee, but Wrigley wanted to notify Plaintiff’s employer that Plaintiff was very unethical

during the legal proceedings that Wrigley observed. Wrigley said that Plaintiff lied to the court.

Wrigley said that Plaintiff was unfit to work for her employer.

       185.    Wrigley proceeded to give details of the sealed legal proceedings.

       186.    Wrigley left her contact information and offered to provide more information

demonstrating the lapses in Plaintiff’s ethics and Plaintiff’s unfitness for her job. Wrigley

requested that Dana call her back to obtain more information about the legal proceedings that she

discussed.

       187.    Wrigley failed to notify Dana that the legal proceedings that she was discussing

were sealed.

       188.    On approximately the same day, January 11, 2016, Kerr also called Plaintiff’s

employer and demanded to speak with someone in the position of power.

       189.    Eventually, Kerr spoke with Ms. Winters, a senior administrator in Plaintiff’s

employer.

       190.    Kerr represented herself as court personnel and falsely intimated that she was

calling in her official capacity and on behalf of the court.

       191.    At a later court hearing, Kerr testified that never sought a court permission to make

any such contacts with Plaintiff’s employer, nor to represent herself as acting on behalf of the

court, nor to release any information about sealed proceedings to the employer,.

       192.    Kerr falsely told Plaintiff’s employer that Plaintiff lied to the court.

       193.    Kerr falsely intimated that Plaintiff committed other criminal violations, for which

Plaintiff was investigated or sued. Kerr said that she was not allowed to discuss such details with



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Plaintiff’s employer over the phone, despite having disclosed other details of the sealed

proceedings.

       194.    Kerr falsely told Plaintiff’s employer that the employer had now become a party to

legal proceedings because of the way Plaintiff’s personal letterhead looked in her sealed letter to

the judge.

       195.    Kerr knew this was false. Kerr is a highly experienced court-appointed expert, who

participated in numerous legal proceedings. Kerr knows that nobody can be forced to become a

party to legal proceedings without notice and jurisdiction, simply because someone mentions their

name in a private letter written to the judge.

       196.    Kerr’s statements to Plaintiff’s employer were false and malicious. Kerr’s goal was

to threaten Plaintiff’s employer into hiring legal representation and to immerse itself into the legal

proceedings where not only the employer was not a party, but even Plaintiff herself was not a

party. Kerr sought to pressure Plaintiff’s employer to protect itself by taking actions against

Plaintiff, or to retaliate against Plaintiff for the legal costs and trouble that Kerr imposed on

Plaintiff’s employer.

       197.    Kerr also falsely stated or intimated that she was investigating Plaintiff’s financial

misconduct in her capacity as a court-appointed expert. This was false. Kerr never investigated

Plaintiff. Plaintiff was never a party to any proceedings in which Kerr was involved (except for

Plaintiff’s subsequent TRO against Kerr).

       198.    Kerr repeatedly and strongly intimated that there were facts about Plaintiff that Kerr

was unable to disclose to Plaintiff’s employer, and that those facts were extremely damaging to

Plaintiff’s reputation and career.

       199.    Kerr knew this to be false.



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        200.    Kerr revealed to Plaintiff’s employer other details from the sealed legal

proceedings.

        201.    Approximately a day later, on January 12, 2016, Wrigley sent several documents

to Plaintiff’s employer, ostensibly in support of her frivolous “ethics complaint” against Plaintiff

for the use of the letterhead.

        202.    Only one of the documents that Wrigley submitted had any relationship to the

ostensible purpose of her communication – the letterhead “ethics complaint.”

        203.    All other documents that Wrigley sent were sealed court documents entirely

unrelated to Wrigley’s “ethics complaint.”

        204.    The documents that Wrigley forwarded to Plaintiff’s employer contained no

information about Plaintiff. Instead, they contained highly sensitive, sealed court information

about legal disputes among numerous members of Plaintiff’s family.

        205.    Wrigley knew that Plaintiff desperately wanted to contain the scandal and reduce

the harm to the reputations of her family members. In the past, Wrigley threatened to release these

sorts of documents to the public as a leverage to pressure Plaintiff not to testify in court against

Wrigley. Now, after Plaintiff finally volunteered to testify against Wrigley, Wrigley released some

of the documents to Plaintiff’s employer, for the purpose of causing Plaintiff severe emotional

distress, harming Plaintiff’s career and reputation, causing Plaintiff to withdraw her agreement to

testify, and causing other members of Plaintiff’s family to withdraw their agreement to testify.

        206.    On January 23, 2016, Wrigley submitted to Plaintiff’s employer a letter from Kerr.

        207.    Kerr’s letter was dated January 8, 2016, signed by Kerr, and addressed to Plaintiff’s

immediate supervisor, who was listed by name. Kerr listed the official address of Plaintiff’s

immediate supervisor as the delivery address.



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        208.     After Plaintiff’s employer received the letter, a senior administrator called Kerr to

verify the letter’s authenticity.

        209.     Kerr informed Plaintiff’s employer that she wrote the letter, signed it, and addressed

it to the employer, but then did not send it on the advice of her counsel. Kerr did not explain how

her signed, formal letter, addressed to the employer and demanding employer’s actions, happened

to land in Plaintiff’s employer’s hands if Kerr never sent it.

             Kerr Writes Defamatory Letter to Plaintiff’s Employer, and Wrigley Submits It

        210.     During her phone conversation with Plaintiff’s employer, Kerr promised to forward

sealed court documents if the employer made a written request. The employer did not make such

a request.

        211.     Prior to her telephone call, Kerr wrote a letter to Plaintiff’s employer that Wrigley

would later send.

        212.     In her letter, Kerr presenting herself as a court personnel writing in her official

capacity, and responding to a court submission that she received in her official capacity.

        213.     During a court hearing in March 2016, Kerr admitted that she never sought or

obtained a court approval to contact anyone in such capacity. Her representation was false.

        214.     Kerr had no formal role in the proceedings for which Plaintiff wrote a letter to the

judge. Because those proceedings were sealed, Kerr had no right to see Plaintiff’s letter to the

court. Kerr obtained Plaintiff’s letter illegally, from her accomplice Wrigley, for the specific

purpose to engage in witness intimidation and tampering.

        215.     Kerr’s letter contained a long list of defamatory falsehoods, including the claim that

Plaintiff lied in her letter to the New York court about whether Kerr was instructed by another

court to investigate Wrigley’s associate, Esaun Pinto.



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        216.    Kerr knew that her claim was false. Plaintiff’s letter to the court provided detailed

citations to court transcripts and orders, backing up her claims and documenting the court’s

instructions to investigate Pinto.

        217.    Plaintiff’s letter quoted a status conference court order, both of which addressed the

investigation into Pinto.

        218.    Kerr was present at the hearing where the judge made these decisions; she

personally witnessed the oral ruling, and she received a copy of the written order that stated:

“Mr. Pinto shall provide a complete accounting with documentation of all funds that were held

under his control to Ms. Kerr and Ms. Peterson, who shall ensure copies are provided to Counsel

of record including [list of involved individuals].”

        219.    Further, not only did the court instruct Kerr to investigate Pinto, but Kerr in fact

conducted an investigation of Pinto. Kerr summarized her preliminary findings in a letter that she

sent to numerous parties to the Colorado proceedings. Kerr stated that she found that Pinto

misappropriated tens of thousands of dollars and engaged in other financial misconduct,

including overbilling.

        220.    Kerr’s letter to Plaintiff’s employer made other defamatory accusations against

Plaintiff, stating:

        I do not feel that I am at liberty to disclose the outcome of my forensic investigation,
        but as I am sure, as a licensed attorney and the head of a [Plaintiff’s employer, a
        large institution], you know that the facts are the facts. I am a licensed CPA, a
        Certified Fraud Examiner and a Forensic Certified Public Accountant and am
        require to provide a factual report based on the financial and other documents
        provided. I have provided such a report to the Denver Probate Court, who is the
        trier of fact in this matter. An Order was issued… with results of many months of
        hearings in this matter. I can tell you unequivocally that the Order in no way reflect
        [Plaintiff’s] allegations.




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       221.    This statement is false, highly misleading, and malicious. It intimates that Plaintiff

engaged in some unspecified financial fraud, for which Kerr was investigating Plaintiff. Plaintiff

never committed fraud and was never investigated, by Kerr or by any other court personnel.

       222.    Kerr’s statement also intimates that Plaintiff engaged in some other severe

misconduct that was tried during those proceedings. This too is false. Plaintiff was not a party to

those proceedings.

       223.    Most importantly, Plaintiff’s only participation was that of a witness. There was

nothing in the facts of the sealed proceedings that Kerr was claimed she was eager to release to

Plaintiff’s employer that would support Kerr’s insinuation that Plaintiff committed any sort of

criminal or civil offense.

       224.    Further, the letter falsely claims that Plaintiff committed perjury.

       225.    Kerr’s goal was to cause Plaintiff lose her job, to coerce Plaintiff not to testify

against Defendants in court, and to persuade her family to transfer significant assets to Defendants.

       226.    Kerr’s letter threatened Plaintiff’s employer with litigation, stating that Plaintiff’s

use of her self-designed letterhead somehow turned the employer into a party.

       227.    This statement is false and made with actual malice. At the very least, Kerr is

extremely reckless in making this statement. Kerr is a highly experienced forensic accountant who

routinely works in litigation with attorneys and judges. Kerr’s accomplices Dain, Cohenson, and

Salzman are all attorneys. Kerr testified that she consulted some “attorney” before sending her

defamatory letter to Plaintiff’s employer.

       228.    Kerr threatened Plaintiff’s employer with litigation to coerce the employer into

taking actions against Plaintiff. Wrigley made the same threats, more explicitly, during her phone

conversations with Plaintiff’s employer.



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        229.    Kerr’s letter made numerous other defamatory and false statements.

        230.    Finally, Kerr repeated the false claim that she was writing in her official capacity

as court-appointed expert, and demanded that Plaintiff’s employer write to the court to explain its

position in family litigation.

        231.    Kerr had no legal status in the New York proceedings, was not authorized to see

any documents in those proceedings, was not authorized to read Plaintiff’s sealed letter, much less

forward it to Plaintiff’s employer, much less threaten Plaintiff’s employer with litigation and

demand that Plaintiff’s employer contact a court for which Kerr has never worked.

        232.    Kerr’s threats against Plaintiff’s employer were deliberate and malicious. Her goal

was to pressure Plaintiff’s employer to take action against Plaintiff by hinting that the employer

can easily end up a defendant in a nasty family fight if they don’t follow Kerr’s instructions.

        233.    Kerr’s claims that Plaintiff improperly used her letterhead, that Plaintiff

intentionally misled the court into thinking the employer was a part of litigation, that Plaintiff lied

to the court with respect to Kerr’s duties were all false. These claims were also defamatory per se

because they implicated that Plaintiff does not possess the character or ethics of an employee that

are necessary for her position. They were made with actual malice, and for an illegal purpose – to

coerce Plaintiff not to testify against Wrigley and Dain in ongoing legal proceedings.

        234.    Kerr closely cooperated with Wrigley and Cohenson to make virtually identical

claims against Plaintiff to Plaintiff’s employer, and to submit them at the same time.

 Defendants’ Claim that They Were Confused by Plaintiff’s Self-Designed Letterhead Is
Obviously False, and the New York Supreme Court Correctly Found It to Be Not Credible
                                   and Pretextual

        235.    Defendants attempted to justify their witness tampering campaign by claiming that,

when they saw Plaintiff’s obviously unofficial self-designed letterhead, they were “confused” into



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thinking that Plaintiff’s employer stood behind her letter in family litigation. This is an obvious

falsehood and refuted by Defendants’ own actions.

         236.   Dain routinely used his law firm’s letterhead to send letters to two different courts

throughout the course of this family litigation. Unlike Plaintiff, who used a self-designed,

obviously non-official letterhead, Dain used an official letterhead of his law firm.

         237.   Dain used his law firm’s official letterhead to send letters to the New York court,

dated December 30, 2015 and December 10, and to the Colorado court dated October 13, 2015,

and 2015.

         238.   Dain has been acting solely in his individual capacity, as an “interested person”,

throughout these proceedings. Dain was not a counsel for any party here, and his law firm had no

official involvement in these proceedings. Still, Dain, acting in his private capacity, used his law

firm’s official letterhead, and his law firm’s address, phone, and email to direct communication to

him.

         239.   Much of Dain’s correspondence was sent to the courts by an employee of his law

firm, a paralegal or secretary, apparently acting within the scope of her employment, on Dain’s

instructions.

         240.   None of Defendants ever complained that Dain’s use of his law firm’s letterhead,

stationary, and staff somehow confused the courts into thinking that his law firm is a party to this

family litigation.

         241.   On information and belief, Wrigley, Kerr, and Cohenson: (a) did not contact Dain’s

law firm to report his unauthorized use of the real, official letterhead and firm’s staff; (b) did not

file any complaints with Dain’s law firm about his use of the letterhead; (c) did not demand that




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Dain’s law firm contacts two different courts and explains its position in the family litigation; and

(d) did not forward any sealed court documents to Dain’s law firm.

       242.    In March 2016, Defendants submitted their absurd claims of confusion about the

letterhead to J. Aliotta. J. Aliotta found Defendants’ claims to be not credible, expressly stated that

Defendants used the letterhead as an excuse to harm Plaintiff’s and Plaintiff’s family member at

their place of employment; stated that he understands why Plaintiff would feel violated by these

actions, and ruled against Wrigley.

                         Plaintiff Obtains TRO Against All Defendants

       243.    When Plaintiff learned that Defendants started to release sealed court documents to

her employer, Plaintiff sought a restraining order from the New York Supreme Court.

       244.    On January 29, 2016, in the face of unequivocal evidence of witness tampering,

witness intimidation, and other misconduct by Defendants, J. Aliotta issued a TRO.

       245.    The TRO provided the following:

       “Upon reading [Plaintiff’s Affidavit for the TRO], from which it appears that the
       integrity of these proceedings and the welfare of witnesses… in these proceedings
       are imminently threatened by Cherie Wrigley, Pamela Kerr, and Melissa Cohenson,
       and that Wrigley, Kerr, Cohenson, and their associates should therefore be
       restrained from further witness tampering and intimidation, by way of a Temporary
       Restraining Order…

       ORDERED, pending hearing and determination before this Court, that
       [Defendants] must stay away from the home, school, business, or place of
       employment of each member of [Plaintiff’s family; and it is further

       ORDERED, pending hearing and determination before this Court, that
       [Defendants] must not harass, intimidate, threaten, or otherwise interfere with
       [Plaintiff’s family]; and it is further

       ORDERED that, pending hearing and determination before this Court,
       [Defendants] must not communicate with [Plaintiff’s family’s] employers, schools,
       supervisors, colleagues, teachers, professional associations, or any other individual
       or organization that exercises any control over, or has significant impact on, the
       employment, education, or civic activities of any member of the [Plaintiff’s family].


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    In Preparation for the TRO Hearing, Dain and Salzman Continue to Intimidate and
                   Harass Plaintiff, Seeking to Stop Her from Testifying

       246.    Dain and Salzman responded to the TRO by continuing to threaten and intimidate

Plaintiff, seeking to prevent her from testifying against Defendants.

       247.    One of Plaintiff’s main complaints to J. Aliotta was that Dain coerced Plaintiff and

her family not to testify against Defendants by threatening to cause the imposition of ruinous

financial sanctions if they do so.

       248.    After Plaintiff reported these threats to J. Aliotta and obtained the TRO, Dain

sought sanctions against Plaintiff from J. Aliotta, the very judge who had just granted the TRO,

for Plaintiff’s audacity to seek the TRO.

       249.    Dain, as an experienced litigator, knew that his motion for sanctions was frivolous.

He used it solely to further intimidate Plaintiff.

       250.    Dain also repeatedly threatened to disclose more sealed court documents to various

parties if Plaintiff continues to be willing to testify, and threatened Plaintiff with frivolous

defamation lawsuit for communicating with the judge in an ongoing legal proceeding.

       251.    Dain, as an experienced litigator, knew that witness testimony and victim

statements to court are absolutely protected from defamation claims. He also knew that he had no

right to reveal the contents of sealed legal proceedings. His threats were the threats of illegal

actions and an ongoing witness tampering.

       252.    Dain’s threats of defamation lawsuits and sanctions were particularly egregious

because he was making them while the TRO against him was in full force.

       253.    Wrigley’s and Dain’s associate, Salzman, in his response to Plaintiff’s motion for

permanent injunction, also sought sanctions against Plaintiff for Plaintiff’s audacity to seek a TRO.




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        254.    Salzman threatened to continue contacting Plaintiff’s employer and to attempt to

garnish Plaintiff’s wages. Salzman, as an experienced litigator, knew that he could not garnish

Plaintiff’s wages absent a judgment against Plaintiff. Plaintiff has never been involved in any

litigation prior to seeking the TRO against Defendants.

        255.    Threats and intimidation against witnesses and even fellow attorneys are

Defendants’ standard behavior.

        256.    Before the TRO was put in place, Dain repeatedly threatened Plaintiff and members

of Plaintiff’s family, telling them that if they agreed to testify against Dain or other Defendants,

Dain would cause them ruinous financial, professional, and personal damage.

        257.    Both Dain and Salzman threatened attorneys working for various members of

Plaintiff’s family.

In Preparation for the TRO Hearing, and During the Hearing, Dain and Salzman Acted as
De Facto Counsel for all Defendants, even though They Were Not Counsel of Any of Them

        258.    For many months, Dain and Salzman have been providing full legal, organizational,

and strategic support to Defendants’ ongoing pattern of witness-tampering, coercion, and extortion

schemes. On information and belief, Dain and Salzman encouraged other Defendants to engage in

tortious activities against Plaintiff for months and counseled them on approaches to do so.

        259.    Dain and Salzman provided full legal and organizational support to all Defendants

after Kerr, Wrigley, and Cohenson were caught with witness tampering, and after J. Aliotta issued

a TRO against all Defendants.

        260.    In reliance on Dain’s and Salzman’s full legal support, Kerr did not even bother to

submit any responses to the TRO issued against her, or to the Motion for Permanent Injunction

issued against her. This is striking, given that Kerr was one of the key participants in the stream of

witness tampering activities directed at Plaintiff and Plaintiff’s employer.


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       261.    Cohenson was ostensibly an attorney for Wrigley. However, Cohenson’s response

to Plaintiff’s Motion for Permanent Injunction did not even bother to defend Wrigley. Cohenson’s

motion defended only Cohenson herself. She did not address Wrigley’s illegal actions.

       262.    Dain’s response to Plaintiff’s Motion for Permanent Injunction is almost entirely

dedicated to the defense of Wrigley’s, Kerr’s, and Cohenson’s communications with Plaintiff’s

employer, their forwarding of sealed court documents, spreading defamatory information, and

their threats. Dain does not even pretend that he is writing for his own benefit, defending his own

actions in the Motion for Permanent Injunction.

       263.    Salzman’s response to Plaintiff’s Motion for Permanent Injunction contains only a

small portion defending Salzman himself. The bulk of Salzman’s response is dedicated to

defensding Wrigley, Kerr, and Cohenson, none of whom are his clients.

 At the TRO Hearing, J. Aliotta Finds Defendants’ Excuses for Witness Tampering to Be
              Not Credible and Mere Pretexts to Justify Illegal Conduct

       264.    In March 2016, the New York Supreme Court held a hearing on Plaintiff’s TRO

and other related matters. The parties submitted an extensive set of motions and responses.

       265.    In their numerous submissions to the court, and orally during the hearing,

Defendants advanced numerous bizarre, false, and misleading arguments to justify Defendants’

illegal conduct.

       266.    Having seen all of Defendants’ excuses, J. Aliotta of the NY Supreme Court found

them to be not credible.

       267.    The judge’s final order described Defendants’ conduct as “disturbing at best.”

       268.    The judge found that Defendants’ excuses for contacting Plaintiff’s employer were

mere pretexts to justify their witness tampering.

       269.    In reference to Defendants contacting Plaintiff’s employer, J. Aliotta said:


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       I understand that you [Plaintiff] feel even violated and you're upset about what has
       happened. Quite frankly, I think that, you know, most professionals would
       recognize that seeing a letterhead, a Judge doesn't assume that [imprimatur of the
       employer] is lent to the contents of these letters.

       I mean, we've been around the block a few time and we see correspondence and
       people use letterhead and they shouldn't use letterhead to contact the Court and the
       like. But I think that in this case a lot of it was over the top, was unnecessary and
       I can understand [Plaintiff] being upset about it.

       270.    The judge received the letter that Plaintiff’s employer wrote to the court, in

response to Defendants’ malicious demand to contact the court. Because of the information

contained in the employer’s letter and in Plaintiff’s Affirmation for the TRO, the court ruled

against Defendants on the primary issue of the proceeding – reversing his own prior ruling in the

proceeding, issued when Plaintiff and her immediate family members were not present because of

Defendants’ threats and intimidation.

   After the TRO Hearing, J. Aliotta Agrees to Discontinue the TRO, Explicitly on the
 Condition that Defendants Do Not Contact Employers of Plaintiff and Plaintiff’s Family

       271.    After the hearing, J. Aliotta resolved all underlying issues and, because of that,

discontinued the TRO. The TRO was based on witness tampering with respect to the underlying

case, and the resolution of the underlying case removed the witness tampering issue from J.

Aliotta.

       272.    The judge explicitly warned Defendants against continuing to engage in witness

tampering.

       273.    The judge explicitly conditioned his decision to discontinue the TRO on the

promise by all Defendants not to contact any employers of Plaintiff or Plaintiff’s family again.

       274.    The judge put the same no-contact condition in the oral ruling from the bench,

and in his written orders.




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                                               DAMAGES

        275.       Defendants’ long-term, egregious misconduct, aimed at witness tampering, gives

rise to several types of damages.

                        Presumed Damages and Emotional Distress Damages

        276.       For the defamation claim, Plaintiff is entitled to presumed damages because the

defamation was per se. Plaintiffs falsely told numerous employees of Plaintiff’s employer that

Plaintiff had committed criminal violations, lied to the court, is unethical, and is unfit to do her

job. As a result, Plaintiff suffered severe mental suffering, harm to her professional and personal

reputations and to her standing in the community, personal humiliation, embarrassment, anguish

and anxiety. Many of these consequences have well-documented physical evidence, such as the

harm to Plaintiff’s health caused by severe mental suffering.

        277.       Plaintiff never experienced mental health problems before she was attacked by

Defendants.

        278.       Plaintiff’s psychical, mental, and emotional health severely deteriorated as a result

of months of persistent threats from Defendants, and as a result of their defamatory actions.

        279.       As a result of Defendants’ threats and defamatory conduct, Plaintiff developed

severe anxiety, fear, and depression.

        280.       Because of Wrigley’s threats against Plaintiff’s children, Plaintiff now suffers from

persistent fear of someone forcibly removing her children from their home, attacking her children

at school and forcibly moving them to a state-run institution, and assaulting her children at a state-

run institution.

        281.       Plaintiff started to obsessively check on her children at all times, to ensure their

safety, even in environments where she would normally not have any doubts about their safety –

such as in bed at night, or at school during normal school hours.

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       282.      Because of Wrigley’s threats to cause Pinto or other criminal associates to enter

Plaintiff’s home against Plaintiff’s will and remove things from it, Plaintiff suffers from anxiety.

Plaintiff is afraid to be at home alone.

       283.      As a result of Defendants’ defamatory actions, and their persistent threats, Plaintiff

started suffering from insomnia and nightmares, racing heartbeat, extreme fatigue, sweating, and

panic attacks.

       284.      Plaintiff now has difficulty concentrating.

       285.      Plaintiff has been feeling sad, hopeless, and agitated.

       286.      The overall quality of Plaintiff’s life is severely damaged.

                                           Economic Damages

       287.      Because Wrigley threatened to file a false police report against Plaintiff, Plaintiff

was compelled to document every step she made with respect to her children, and to assemble

witnesses for the eventual fight to retain her children at home.

       288.      For this purpose, Plaintiff had to retain two individuals to supervise and monitor

her children at all times, in addition to Plaintiff’s own monitoring and the school’s monitoring.

Plaintiff paid more than $50,000 to those individuals, whose services would not have been

needed but for the need to respond to Wrigley’s threats.

       289.      To obtain a Temporary Restraining Order, Plaintiff had to hire an attorney.

Plaintiff represented herself in the TRO, but she had to consult an attorney for procedural

guidance, to help with filing of court documents, and to help prepare for cross-examination of

witnesses during the hearing. Plaintiff also had to retain other assistants to help with paralegal-

type work like preparation of exhibits. Plaintiff also had to consult an attorney to respond to

Defendants’ and their agents’ frivolous motions for sanctions.



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        290.    The hearing for the TRO and related matters was scheduled to take a week. For

this, Plaintiff had to miss a week of work. Plaintiff had to travel from Chicago to New York and

pay all associated expenses for a week of stay in New York for a scheduled four-day hearing.

        291.    Plaintiff incurred other significant expenses, such as a child care for the week that

she had to be in New York for a hearing.

        292.    Because of Defendants’ defamatory statements to Plaintiff’s employer, Plaintiff

suffered harm to her career and professional advancement. Plaintiff lost opportunities for

professional growth and promotions. Plaintiff lost prestigious assignments at work and lost the

opportunity to influence the direction of her department.

        293.    Plaintiff suffered a significant harm to her work and career. Because of her

persistent anxiety, Plaintiff is unable to take up new projects at work. Her job performance

suffered. Plaintiff’s ability to earn extra income from taking up summer jobs or consulting

project is harmed.

                                    Damages for Physical Injury

        294.    Plaintiff suffered significant physical harm from Defendants’ conduct. Within four

months after the onslaught of Wrigley’s assaults, threats against Plaintiff’s children, and other

threats, Plaintiff suffered such severe anxiety that she lost almost 60 pounds of weight.

        295.    As a result of rapid changes in her body, Plaintiff developed significant back pain

and shoulder pain. Plaintiff never experienced those problems in the past. These problems still

continue, despite Plaintiff’s effort to alleviate them. For example, as a result of this injury, Plaintiff

now is unable to sit in a regular car seat for more than about 20 minutes, and needs to use numerous

orthopedic devices.




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          296.   Because of the sudden shock and associated weight loss, Plaintiff was unable to

walk and stand up normally. Plaintiff had to use a chiropractor for the first time in her life. Plaintiff

continues to use a chiropractor and a physical therapist for her persistent pain.

          297.   Plaintiff experiences numerous other physical effects caused by mental anguish that

Defendants’ misconduct triggered.

                                          Punitive Damage

          298.   Defendants’ conduct was willful, wanton, and outrageous. Defendants acted with

actual malice. Defendants sought to advance illegal purposes. For these reasons, Plaintiff should

be awarded punitive damages.

   COUNT ONE – INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS AND
      CIVIL CONSPIRACY TO ENGAGE IN INTENTIONAL INFLICTION OF
 EMOTIONAL DISTRESS, FOR THREATS OF PHYSICAL AND SEXUAL ASSAULT,
 THREATS TO FILE A FALSE POLICE REPORT, THREATS TO CAUSE REMOVAL
  OF PLAINTIFF’S CHILDREN FROM HOME, THREATS TO BRING FRIVOLOUS
   LITIGATION AGAINST PLAINTIFF AND PLAINTIFF’S FAMILY MEMBERS,
   THREATS TO CAUSE PLAINTIFF LOSE HER JOB AND HAVE HER CAREER
     RUINED, THREATS TO PLAINTIFF’S PERSONAL AND PROFESSIONAL
 REPUTATION, AND DEFENDANTS’ ACTUAL ACTIONS TO HARM PLAINTIFF’S
                      CAREER AND REPUTATION

          299.   Plaintiff repeats and re-alleges each of the foregoing paragraphs as if set forth fully

herein.

          300.   Between 2014 and 2016, Wrigley and her associates have been threatening Plaintiff

and Plaintiff’s immediate family members, with the goal of coercing them not to testify in court

and to extort millions of dollars from Plaintiff’s family.

          301.   Wrigley repeatedly threatened Plaintiff and Plaintiff’s family that Wrigley, together

with her associate Pinto and her family members, would travel to Chicago, enter Plaintiff’s home,

and remove assets from Plaintiff’s home without Plaintiff’s consent.




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       302.      In March 2015, one day after Plaintiff supplied documents to court personnel

showing Wrigley’s misconduct, Wrigley approached Plaintiff in a courthouse and threatened

Plaintiff with physical and sexual assault if Plaintiff continued to provide information to the court.

       303.      Plaintiff knew that Wrigley’s threats of assault were not idle. Wrigley had an

associate, Esaun Pinto, to whom Wrigley paid hundreds of thousands of dollars to perform various

“job” for her.

       304.      Wrigley’s threats were intended to cause significant emotional distress in Plaintiff,

and they did.

       305.      Shortly after Wrigley’s courthouse threats of physical assault towards Plaintiff and

her husband, Wrigley and Plaintiff ran into each other at the Denver International Airport, where

Wrigley then threatened Plaintiff with filing a false police report against her, and with causing

Plaintiff’s small children to be removed from their home and placed into a state custody.

       306.      Wrigley then followed up on her threats and reiterated them to Plaintiff’s husband

via voicemail and text message.

       307.      Wrigley’s threats to file a false police report and harm Plaintiff’s children were

intended to cause significant emotional distress in Plaintiff, and they did.

       308.      Plaintiff knew that Wrigley’s threats were not idle: Wrigley was a highly

experienced court personnel working with abused and neglected children. Wrigley had motive,

opportunity, and training to file such report and to cause severe harm to Plaintiff’s children.

       309.      Plaintiff believed her children were in severe danger from Wrigley.

       310.      Throughout 2014-2016, Wrigley and her associates made other threats against

Plaintiff, including threats to ruin Plaintiff’s career, reputation, and standing in the community,

and threats to file a false police report against Plaintiff’s immediate family member.



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       311.    When Wrigley learned that Plaintiff was not deterred by repeated threats, Wrigley,

together with Kerr and Cohenson, started to implement some of the threats.

       312.    Wrigley, Kerr, and Cohenson repeatedly contacted Plaintiff’s employer, released

sealed court information, and made numerous defamatory statements to Plaintiff’s employer.

These actions were deliberately calculated to cause severe emotional distress in Plaintiff, with the

ultimate goal of coercing Plaintiff not to testify against Defendants.

       313.    After Plaintiff obtained a TRO against Defendants, Wrigley, Dain, and Salzman

threatened to continue contacting Plaintiff’s employer and release defamatory information to

Plaintiff’s employer and other third parties.

       314.    Even while restrained by the TRO, Dain and Salzman continued to threated Plaintiff

with frivolous sanctions and frivolous litigation. Their goal was to cause emotional distress in

Plaintiff, to prevent Plaintiff from testifying against Defendants.

       315.    On information and belief, Defendants’ associate, Joanne Black, provided support

and encouragement to Defendants’ effort to harass and threaten Plaintiff, and sought to benefit

from Defendants’ illegal actions.

       316.    The acts and conduct of the Defendants as set forth above were extreme and

outrageous. Defendant intended to cause, or were in reckless disregard of the probability that their

conduct would cause, severe emotional distress to Plaintiff, as is more fully alleged above.

       317.    Defendants actions and conduct did directly and proximately cause severe

emotional distress to Plaintiff, and thereby constituted intentional infliction of emotional distress.

       318.    Defendants actions were undertaken with malice, willfulness, and reckless

indifference to the rights of others.




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          319.   As a proximate result of Defendants' wrongful acts, Plaintiff suffered damages,

including severe emotional distress and anguish, as is more fully alleged above.

                              COUNT TWO – CIVIL CONSPIRACY

          320.   Plaintiff repeats and re-alleges each of the foregoing paragraphs as if set forth fully

herein.

          321.   Defendants, acting in concert with each other and with other known and unknown

co-conspirators, conspired by concerted action to accomplish an unlawful purpose, and lawful

purpose by unlawful means.

          322.   One purpose of Defendants’ conspiracy was witness tampering and witness

intimidation. Defendants acted together and used multiple channels to threaten and intimidate

Plaintiff, and to defame Plaintiff, with an aim at coercing Plaintiff and members of Plaintiff’s

family not to testify in court and not to participate in legal proceedings.

          323.   The second purpose of Defendants’ conspiracy was extortion. They acted together

to terrorize Plaintiff, and to defame Plaintiff, with an aim of forcing Plaintiff’s family to transfer

millions of dollars to Wrigley’s and her associates’ control and use.

          324.   One of Defendants’ unlawful means was defamation. Defendants used threats of

defamation, and defamation itself, to accomplish their witness-tampering and extortion goals.

          325.   Another unlawful means was intentional infliction of emotional distress.

Defendants used intentional infliction of emotional distress to accomplish their witness tampering

and extortion goals.

          326.   Defendants Wrigley, Kerr, and Cohenson, acting in concert with other associates,

repeatedly contacted Plaintiff’s employer, transmitted sealed court documents, revealed

information from sealed court proceedings, and made numerous defamatory statements, with the



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intermediate goal of harming Plaintiff’s career and reputation, and the ultimate goal of coercing

Plaintiff, and other members of Plaintiff’s family, not to testify against Defendants.

          327.   Defendant’s Cohenson and Wrigley, or their associates Dain and Salzman,

provided Defendant Kerr with documents from a sealed court case.

          328.   Defendant Kerr wrote and signed a letter to Plaintiff’s employer that was then sent

to Plaintiff’s employer by Defendant Wrigley.

          329.   Defendants’ associates, Dain and Salzman, acting in concert with Defendants,

repeatedly threatened Plaintiff and her family members with frivolous sanctions and litigation, and

threatened to reveal more sealed court information to Plaintiff’s employer and other parties.

          330.   On information and belief, Defendants’ associate Joanne Black supported and

encouraged Defendants’ defamatory actions and harassment, and expected to benefit from these

actions.

          331.   In furtherance of the conspiracy, Defendants committed overt acts and were

otherwise willful participants in joint activity.

          332.   Defendants’ misconduct was undertaken with malice, willfulness, and reckless

indifference to the rights of others.

   COUNT THREE: DEFAMATION, AND CIVIL CONSPIRACY TO ENGAGE IN
   DEFAMATION, FOR MAKING FALSE AND MALICIOUS STATEMENTS TO
PLAINTIFF’S EMPLOYER WITH THE INTENT TO PRESSURE PLAINTIFF NOT TO
                   TESTIFY AGAINST DEFENDANTS

          333.   Plaintiff repeats and re-alleges each of the foregoing paragraphs as if set forth fully

herein.

          334.   Plaintiff is a private figure for the purpose of establishing defamation liability.

Plaintiff is not a government employee, nor a celebrity of any sort. She is a manifestly private




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figure who was simply going about living her life prior to the onslaught of Defendants’ vicious

attacks on her reputation.

        335.    Plaintiff never voluntarily thrust herself into any particular controversies related to

the matters that Defendants fabricated against her. Plaintiff did not seek to deliberately shape or

influence any debates on any public issues related to the contents of Defendants’ defamatory

actions.

        336.    As such, Plaintiff is a private figure under Illinois state law and federal First

Amendment law principles.

        337.    In January 2016, Wrigley, Kerr, and Cohenson began a campaign of telephone calls

and letters to Plaintiff’s employer and making false accusations and insinuations against Plaintiff.

        338.    On January 7, 2016, Cohenson called Plaintiff’s employer and falsely stated that

(a) Plaintiff represented to the court that she was acting with the imprimatur of her employer; (b)

that Plaintiff used the employer’s official letterhead to enable her to lie to the court; and (c) that

Plaintiff acted unethically during court proceedings.

        339.    By stating that Plaintiff lied to the court and acted unethically in litigation,

Cohenson attributed to Plaintiff conduct unfit for Plaintiff’s profession as a law professor,

prejudicing Plaintiff in her career.

        340.    Cohenson’s false accusation that Plaintiff lied to court about her employer’s role in

litigation also attributes to Plaintiff potentially criminal conduct.

        341.    Cohenson knew her accusations to be false. Cohenson made these statements with

actual malice. At the very least, Cohenson was grossly negligent in making those statements.

Cohenson’s goal was to pressure Plaintiff not to testify against Defendants in ongoing legal

proceedings.



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        342.    Cohenson’s false statements to Plaintiff’s employer, imputing Plaintiff’s

professional integrity and conduct, prejudicing her in her profession, and accusing her of criminal

acts, are defamatory per se.

        343.    On January 8, 2016, Wrigley filed a complaint against Plaintiff with Plaintiff’s

employer. Wrigley’s complaint falsely represented that (a) that Plaintiff was acting unethically in

court proceedings; (b) that Plaintiff lied to the court; (c) that Plaintiff falsely represented to the

court that her employer was supporting her actions in litigation; (d) that Plaintiff was using her

employer’s official letterhead to enable her to lie to the court, and (e) that Plaintiff is therefore

unfit to do her job.

        344.    On or about January 11, 2016, Wrigley called Plaintiff’s colleague, Mr. Dana, and

told him that Plaintiff engaged in misbehavior in the course of legal proceedings; that Plaintiff is

unethical and unfit to do her job.

        345.    By stating that Plaintiff lied to the court and acted unethically in litigation and that

she was unfit for her job, Wrigley attributed to Plaintiff conduct unfit for Plaintiff’s profession as

a law professor, prejudicing Plaintiff in her career.

        346.    Cohenson’s false accusation that Plaintiff lied to court about her employer’s role in

litigation also attributes to Plaintiff potentially criminal conduct.

        347.    Wrigley knew her accusations were false. Wrigley made these statements with

actual malice and the goal of pressuring Plaintiff not to testify against Defendants in ongoing legal

proceedings. At the very least, Wrigley was grossly negligent in making these statements.

        348.    As such, Wrigley’s statements to Plaintiff’s employer, imputing her professional

integrity and conduct, prejudicing her in her profession, and accusing her of criminal acts, are

defamatory per se.



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        349.    On or about January 8, 2016, Kerr wrote a letter to Plaintiff’s employer, which

Defendant Wrigley later sent to Plaintiff’s employer. Kerr wrote the letter on her official letterhead,

signed it, and addressed it to Plaintiff’s supervisor by name, and listed the supervisor’s work

address.

        350.    Kerr’s letter contained a long list of defamatory statements, similar to those she

also made in a phone call to Plaintiff’s employer. Kerr’s letter stated, among other things, that: (a)

Plaintiff committed a criminal offense (perjury) in one court; (b) Plaintiff lied to a different court

in her description of Kerr’s duties in prior litigation; (c) Plaintiff lied to the court by claiming that

Plaintiff’s employer supports Plaintiff in family litigation; (d) Plaintiff used employer’s official

letterhead to enable her to lie to the court, and (f) Plaintiff acted unethically in litigation. Kerr’s

letter also strongly intimated that Plaintiff committed other criminal violations, vaguely related to

financial misconduct.

        351.    On or about January 11, 2016, Kerr called Plaintiff’s employer. Kerr told Plaintiff’s

employer that (a) Plaintiff lied to the court when discussing the scope of Kerr’s job assignment;

(b) Plaintiff committed criminal violations; (c) Plaintiff is being investigated for some sort of

criminal or civil misconduct; (d) that Plaintiff lied to the court by representing that her employer

supports her actions in private family litigation; (e) that Plaintiff used her employer’s letterhead to

enable her to lie to the court.

        352.    By stating that Plaintiff lied to the court and acted unethically in litigation, Kerr

attributed to Plaintiff conduct unfit for Plaintiff’s profession as a law professor, prejudicing

Plaintiff in her profession.

        353.    Kerr’s false accusation that Plaintiff lied to court also attributes to Plaintiff

potentially criminal conduct.



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          354.   All of Kerr’s accusations were false, and Kerr knew it or was grossly negligent in

not knowing it. Kerr acted with actual malice when making these statements. Kerr’s goal was to

pressure Plaintiff not to testify against Defendants in ongoing legal proceedings. As Kerr knew,

Plaintiff was not a party to the litigation that Kerr described, or to any litigation in which Kerr

participated (except for Plaintiff’s own action to obtain a TRO against Kerr). There was nothing

in the facts of the sealed proceedings to which Kerr was alluding that would support Kerr’s view

that Plaintiff committed perjury. To lend credibility to her false statements, Kerr falsely told

Plaintiff’s employer that she was calling in her official capacity as court personnel.

          355.   Kerr’s false statements to Plaintiff’s employer, imputing her professional integrity

and conduct, prejudicing her in her profession, and accusing her of criminal acts, are defamatory

per se.

          356.   On January 26, 2016, Wrigley submitted Kerr’s letter to Plaintiff’s employer.

          357.   Wrigley knew or was grossly negligent in not knowing that the facts contained in

Kerr’s letter that she was submitting were false.

          358.   Wrigley acted with actual malice in submitting the letter to Plaintiff’s employer.

Wrigley’s goal was to coerce Plaintiff not to testify against Defendants in ongoing legal

proceedings.

          359.   As a result of Defendants’ defamatory conduct, Plaintiff suffered significant mental

anguish, anxiety, personal humiliation and embarrassment, loss of professional and personal

reputation, loss of career advancement, and loss of standing in her professional community.




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      COUNT FOUR: INTERFERENCE WITH CONTRACTUAL RELATIONS,
  INTERFERENCE WITH PROSPECTIVE ECONOMIC ADVANTAGE, AND CIVIL
  CONSPIRACY TO DO BOTH, FOR DELIBERATE EFFORT TO GET PLAINTIFF
  FIRED FROM HER JOB OR TO HARM PLAINTIFF’S CAREER ADVANCEMENT

       360.     Plaintiff repeats and re-alleges each of the foregoing paragraphs as if set forth

fully herein.

       361.     Before Defendants’ onslaught of communications with Plaintiff’s employer,

Plaintiff had a valid and enforceable employment contract.

       362.     Plaintiff had expectance of reasonable career advancement within her employer.

       363.     Plaintiff held positions of significant prestige and responsibility within her

employer.

       364.     Defendants knew of the contract between Plaintiff and her employer, and knew

that Plaintiff expected a reasonable pattern of promotions and career advancement.

       365.     Defendants acted intentionally, maliciously, and unjustifiably with specific

purpose to cause Plaintiff to be fired from her job, or, at the very least, to cause damage to

Plaintiff’s career and professional advancement.

       366.     Defendants’ actions partially succeeded. In response to Defendants’ frivolous

complaint, letters, threats to bring Plaintiff’s employer into litigation, the stream of sealed court

documents that Defendants submitted, and numerous phone calls targeting Plaintiff’s colleagues,

supervisors, and administrators, Plaintiff’s employer initiated a formal, lengthy, and invasive

investigation process.

       367.     Plaintiff’s supervisor officially notified Plaintiff that the process was initiated in

response to Defendants’ actions, and demanded specific responses from Plaintiff.

       368.     As a result of Defendants’ actions, Plaintiff’s advancement at her job was harmed.

That included the loss of compensation, promotion, to her advancement in administrative ranks,


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to her ability to hold powerful committee positions that she has held in the past. Plaintiff suffered

the loss of an opportunity to perform job-related tasks that are considered prestigious, desirable,

and high-visibility, even though she has performed those tasks for many years in the past with

success.

          369.   Due to Defendants’ intentional misconduct, Plaintiff was denied professional

advancement, removed from positions of responsibility and prestige that she occupied for years,

and suffered significant loss to her professional advancement and professional reputation.

  COUNT FIVE – INTRUSION UPON SECLUSION AND CIVIL CONSPIRACY TO
 ENGAGE IN INTRUSION UPON SECLUSION, FOR THE ILLEGAL TRANSFER OF
   NUMEROUS SEALED COURT DOCUMENTS TO PLAINTIFF’S EMPLOYER.

    370.         Plaintiff repeats and re-alleges each of the foregoing paragraphs as if set forth fully

herein.

    371.         Plaintiff participated in sealed legal proceedings. She had a reasonable expectation

of privacy: she expected that the contents of sealed proceedings will not be made public, and surely

will not be shared with Plaintiff’s employer.

    372.         Plaintiff wrote a letter to the judge, in her capacity as a witness in ongoing sealed

legal proceedings, with an understanding that the letter is sealed, as are the rest of court documents

in this case.

    373.         Kerr obtained Plaintiff’s sealed letter illegally. Wrigley transmitted Plaintiff’s

sealed letter to Kerr for no reason other than to participate in a witness-tampering scheme. Kerr,

Wrigley, and Cohenson acted in concert to reveal the contents of Plaintiff’s sealed letter to

Plaintiff’s employer in phone conversations, Kerr’s letter, and Wrigley’s complaint, and later to

transmit Plaintiff’s sealed letter to Plaintiff’s employer. This constitutes intentional intrusion into

Plaintiff’s private affairs and concerns.



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   374.        The actions of Kerr, Wrigley, and Cohenson are highly offensive to a reasonable

person. People have a reasonable expectation that sealed court documents remain sealed.

Intentional violation of a court seal is always offensive. It harms the proper operation of the legal

system, undermines citizens’ faith in legal institutions, and reduces witnesses’ willingness to

cooperate with law enforcement and courts.

   375.        This violation is particularly egregious because it is made for an illegal purpose –

to engage in witness tampering, as Kerr, Wrigley, and Cohenson did.

   376.        This violation is further more egregious because it was committed by experienced

court personnel. Cohenson is an attorney and an officer of the court. Kerr routinely serves as a

court-appointed expert (as served as one in a different proceeding in this family fight). Wrigley

often serves as a court-appointed children’s advocate. All three have had extensive training and

court experience; they know proper conduct in litigation, and know how to deal with sealed court

documents. All three deliberately chose to violate their duties to engage in witness tampering.

   377.        Wrigley transmitted sealed court documents to Plaintiff’s employer without court

authorization or without notifying the court or Plaintiff.

   378.        Defendants concealed from Plaintiff’s employer the fact that the documents they

were transmitting were from two sealed legal proceedings.

   379.        Because Plaintiff’s employer was not aware of the sealed nature of the proceeding,

numerous individuals within the employer were allowed to read those documents and make various

decisions on the basis of those documents affecting Plaintiff’s employment and other relevant

matters.

 COUNT SIX – PUBLICATION OF PRIVATE ACTS AND CIVIL CONSPIRACY TO
 ENGAGE IN PUBLICATION OF PRIVATE ACTS, FOR THE ILLEGAL TRANSFER
  OF NUMEROUS SEALED COURT DOCUMENTS TO PLAINTIFF’S EMPLOYER.



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       380.     Plaintiff repeats and re-alleges each of the foregoing paragraphs as if set forth

fully herein.

       381.     Defendants engaged in series of connected acts for an illegal goal: to prevent

Plaintiff from testifying in court as a witness.

       382.     To accomplish this goal, Defendants acted in concert to give publicity to private

facts related to Plaintiff – the facts related to two sealed lawsuits where Plaintiff participated as a

witness, and to the contents to Plaintiff’s participation in those sealed lawsuits.

       383.     The contents of sealed legal proceedings that Defendants publicized were private

and not public facts because they were sealed.

       384.     Defendants made the contents of these private proceedings public in a manner that

is highly offensive to a reasonable person. This is so because (a) the violation of a court seal is

always offensive to the public and threatening proper operation of our legal system, and (b)

because Defendants sent these documents to Plaintiff’s employer for the criminal purpose of

witness tampering – they tried to coerce Plaintiff against testifying in court.

       385.     The contents of Plaintiff’s sealed letter to the judge, which Defendants forwarded

to Plaintiff’s employer, were not newsworthy and not a matter of legitimate public concern. This

letter was written in Plaintiff’s capacity as a witness, in sealed legal proceedings. Plaintiff

discussed, among other things, the fact that she and her family members were personally

victimized by Wrigley and her brother Dain. There is no public value in releasing the contents of

this letter to Plaintiff’s employer. Plaintiff was not even a party to those proceedings.

       386.     Likewise, Kerr’s letter to Plaintiff’s employer discussed Plaintiff’s testimony in

different sealed proceedings. Plaintiff was not a party to those proceedings, and only testified as




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a minor witness. Likewise, Plaintiff’s testimony was not a matter of public concern as it related

to an inheritance fight among her family members.

       387.    Plaintiff’s letter to the judge and other court documents that Defendants released

to Plaintiff’s employer were sealed. As such, they were not public documents, and could not

have been obtained from searches of public documents.

       388.    Plaintiff never consented to the release of sealed court documents to her

employer.

       389.    Plaintiff, or anyone else that she is aware of, never released to the public eye the

contents of the documents that Defendants’ submitted to her employer.

       390.    Plaintiff is not a public figure, nor a celebrity, nor a politician.

       391.    Defendants’ disclosures of Plaintiff’s letter to the court, her testimony, and other

related documents, were public disclosures. They were made by several individuals (Wrigley,

Kerr, Cohenson), during several separate, but coordinated, communications with several

employees of Plaintiff’s employer.

       392.    These disclosures culminated in Wrigley’s submission of a long list of sealed

documents through a centralized “ethics complaint” system. Wrigley knew, and intended, for

these documents to be seen by numerous employees of Plaintiff’s employer. They were indeed

read by numerous employees of Plaintiff’s employer, from secretaries and support staff to senior

administrators, attorneys, Plaintiff’s immediate supervisor and his own support staff.

       393.    Wrigley personally followed up with a phone call and inquired whether the

disclosures received sufficiently broad publication. Wrigley demanded that employees of

Plaintiff’s employer report to her on the actions they were planning to take with respect to

Plaintiff in connection to having received the sealed documents that Wrigley submitted.



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          394.   Defendants numerous contacts with Plaintiff’s employer were intended to

multiply the number of individuals who received access to sealed court documents, and they

accomplished their goal.

          395.   As a result of Defendants’ actions, numerous employees of Plaintiff’s employer,

easily dozens, had access to sealed court documents.

          396.   The only purpose of Defendants’ illegal release of information was an illegal one:

to coerce Plaintiff to not testify against Defendants in court.

          397.   The submission of Plaintiff’s communications with the judge and other related

documents to Plaintiff’s employer is highly offensive to a reasonable person of ordinary

sensibilities. This is particularly so because this publication had only one goal – witness

tampering and intimidation.

 COUNT SEVEN – STALKING AND CYBER-STALKING, AND CIVIL CONSPIRACY
TO COMMIT STALKING AND CYBER-STALKING, FOR THE ILLEGAL TRANSFER
  OF NUMEROUS SEALED COURT DOCUMENTS TO PLAINTIFF’S EMPLOYER.

          398.   Plaintiff repeats and re-alleges each of the foregoing paragraphs as if set forth fully

herein.

          399.   Throughout 2014-2016, Defendants engaged in numerous actions seeking to

intimidate Plaintiff, to prevent Plaintiff from testifying in court against them. For this purpose,

they engaged in a course of conduct using electronic communication directed at Plaintiff, while

knowing or should have known, that this would cause a reasonable person to fear for her safety or

safety of others, and suffer emotional distress.

          400.   In 2014-2015, Wrigley placed numerous phone calls to Plaintiff and her household

members, threatening them, demanding numerous actions from them, and disrupting their daily

routines.



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        401.    In prior months, Wrigley’s associate, Joanne Black, also repeatedly called

Plaintiff’s immediate family member and made graphic threats of death and assault against

Plaintiff and her family.

        402.    In April 2015, Wrigley approached and confronted Plaintiff in person in a

courthouse and threatened Plaintiff with physical and sexual assault.

        403.    Also in April 2015, on a separate occasion, Wrigley approached and confronted

Plaintiff in person at the airport and threatened to file a false police report and cause Plaintiff’s

small children to be removed from home.

        404.    Wrigley sent several threatening electronic communications to Plaintiff’s husband,

directing them explicitly at Plaintiff, and intentionally placing Plaintiff in reasonable apprehension

of future bodily harm directed at Plaintiff and her small children.

        405.    For many months, Wrigley repeatedly used electronic communications to threaten

Plaintiff that Wrigley would fly from her home in Los Angeles to Plaintiff’s home near Chicago;

that she and her associates would come to Plaintiff’s house, and remove valuable assets from

Plaintiff’s house without Plaintiff’s consent. This placed Plaintiff in reasonable fear of future

bodily harm or restraint.

        406.    Some of Wrigley’s threats came as emails or texts; others as phone calls.

        407.    Plaintiff repeatedly informed Wrigley that her threats to come to Plaintiff’s house

and remove assets from it were unwelcome. Plaintiff told Wrigley that Wrigley must stop

threatening Plaintiffs with all other illegal actions.

        408.    During the summer of 2014, Wrigley threatened to bring a family member with her

to the Plaintiff’s home. Wrigley stated that her family member would aid Wrigley with removing

from Plaintiff’s home certain assets worth tens of thousands of dollars, without Plaintiff’s consent.



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          409.   In September of 2015, Wrigley threatened to bring her associate, Esaun Pinto, with

her to Plaintiff’s home. Wrigley stated that she and Pinto would arrive at Plaintiff’s home to

remove tens of thousands of dollars worth of assets from it, without Plaintiff’s consent.

          410.   Plaintiff’s family member notified Wrigley that she must stop her threats and

contacts. Wrigley ignored it.

          411.   Wrigley knew that Plaintiff knew that Pinto is a dangerous man. Wrigley used the

threat of bringing Pinto with her to Plaintiff’s home to cause Plaintiff fear for her own safety and

for the safety of her family.

          412.   Wrigley’s latest threat to bring Pinto to Plaintiff’s house and remove assets

occurred several months after Wrigley threatened Plaintiff with physical and sexual assault.

          413.   As a result of relentless threats from Defendants, Plaintiff feared for her own safety

and the safety of her family. Plaintiff suffered emotional distress, mental suffering, and anxiety.

Plaintiff considered relocating.

          414.   Defendants knew or should have known that her threats caused Plaintiff to fear for

her safety, safety of her family, and caused her emotional distress.

      COUNT EIGHT – ASSAULT, FOR THREATS OF PHYSICAL AND SEXUAL
                      ASSAULT AGAINST PLAINTIFF

          415.   Plaintiff repeats and re-alleges each of the foregoing paragraphs as if set forth fully

herein.

          416.   Shortly before Wrigley threatened Plaintiff with filing a false police report at the

airport, Wrigley also explicitly threatened Plaintiff with assault at the courthouse.

          417.   From months of prior interactions with Wrigley, Plaintiff knew that Wrigley was

unstable and dangerous.




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          418.   Plaintiff knew that Wrigley’s accomplice Pinto, and his accomplices had travelled

to Denver in the past, at Wrigley’s request.

          419.   Plaintiff believed that either Pinto or his accomplices were present nearby and

would assault Plaintiff.

          420.   Plaintiff believed the threat of assault was imminent.

          421.   Plaintiff was terrified.

          422.   Wrigley’s threats to Plaintiff at the airport had the same effect. Plaintiff believed

that Wrigley’s accomplices were nearby and would assault Plaintiff.

                           COUNT NINE – RESPONDEAT SUPERIOR

          423.   Plaintiff repeats and re-alleges each of the foregoing paragraphs as if set forth fully

herein.

          424.   In committing the acts alleged in the preceding paragraphs, Defendant Cohenson

was employee and agent of Raphan, and agent of Wrigley, acting at all relevant times within the

scope of her employment.

          425.   Defendant Raphan is liable as principal for all torts committed by his agent.

                      SUMMARY OF RELIEF SOUGHT BY PLAINTIFF

          426.   WHEREFORE, Plaintiff respectfully requests that the Court enter an award in

Plaintiff’s favor, and against Defendants, as follows:

          (1)    Awarding Plaintiff no less than $500,000.00 for presumed damages, compensatory

damages, and actual damages for harm and injury to Plaintiff’s reputation, for her emotional

distress, to the damage to her career and professional advancement;

          (2)    Awarding Plaintiff punitive damages of not less than $1,000,000.00;

          (3)    Awarding Plaintiff all expenses and costs, including attorneys’ fees; and

          (4)    Such other and further relief as the Court deems appropriate.

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A JURY TRIAL IS DEMANDED.

     Dated this 6th day of January, 2017.

                                            KATHERINE BLACK,


                                            By:     /s/ Michael H. Schaalman
                                                  One of her attorneys

                                                  Michael H. Schaalman (ARDC #02467879)*
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                                                  *(pro hac vice and/or general bar admission
                                                  request to follow)

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